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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Access Living of Metropolitan Chicago,               )
                                                     )
                       Plaintiff                     )
                                                     )
v.                                                   )       Case No. 15-cv-2088
                                                     )
Bill Prewitt, d/b/a Best Rents,                      )
                                                     )
                       Defendant                     )
                                                     )


                   STIPULATION FOR DISMISSAL WITH PREJUDICE
                          OF ALL CLAIMS AND PARTIES

       It is hereby stipulated by and between plaintiff Access Living of Metropolitan Chicago

and defendant Bill Prewitt, d/b/a Best Rents that this case is hereby dismissed with prejudice.

       This Stipulation for Dismissal with Prejudice of All Claims and Parties is based on Rule

41(a)(1) of the Federal Rules of Civil Procedure, and has been signed by counsel for all parties

who have made an appearance herein. Each party is to bear its own attorneys’ fees and costs.
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Dated: September 10, 2015                Respectfully submitted,

                                         /s/ Casey R. Fronk
                                         Joshua Rabinovitz
                                         Casey Fronk
                                         Bill Watson
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                                CERTIFICATE OF SERVICE

       I, Casey R. Fronk, hereby certify that on September 10, 2015, I caused a copy of the

foregoing to be served by filing the foregoing electronically through the CM/ECF system, which

caused a Notice of Electronic Filing to the parties registered to the Court’s CM/ECF system for

this action, and by electronic mail upon the following counsel of record for Defendant:

       Thomas M. Paris, Esq.
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                                             __/s/ Casey R. Fronk_________________
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